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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                            WACO DIVISION


                                     )
WSOU INVESTMENTS, LLC d/b/a          )     Case No. 6:20-cv-00572-ADA
BRAZOS LICENSING & DEVELOPMENT,      )
                                     )     Case No. 6:20-cv-00580-ADA
          Plaintiff,                 )
                                     )     Case No. 6:20-cv-00584-ADA
     v.                              )
                                     )     Case No. 6:20-cv-00585-ADA
GOOGLE, LLC                          )
                                     )     JURY TRIAL DEMANDED
          Defendant                  )
                                     )



BRAZOS’S OPPOSED MOTION FOR LEAVE TO FILE AN AMENDED COMPLAINT
          AND SERVE AMENDED INFRINGEMENT CONTENTIONS

                         PUBLIC VERSION
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I.     INTRODUCTION

       Plaintiff WSOU Investments, LLC d/b/a Brazos Licensing and Development (“Brazos”)

files this motion to request that the Court grant Brazos leave, in Case No. 6:20-cv-584, to file a

First Amended Complaint, and in each of Cases Nos. 6:20-cv-572, -580, -584, and -585, to serve

Defendant Google with Amended Final Infringement Contentions.

       Brazos wishes to file its 584 Amended Complaint primarily to add—beyond the previously

identified Pixel 4 handset—two new accused products, Google’s Nest Hub 2nd Gen and Nest

Thermostat (“Accused Nest Products”), which use the same Soli radar chip that forms the core of

Brazos’s infringement theory directed to the Pixel 4. Both the Accused Nest Products were

released after the 584 Case began, and

                           . Brazos also seeks to add related allegations of willful infringement as

to the Accused Nest Products. Finally, Brazos—in response to Google’s discovery responses

                                                                                                 —

seeks to amend its complaint to add the parallel apparatus claims, plus a corresponding pleading

concerning Brazos’s compliance with the marking requirements of 35 U.S.C. Section 287.

       Brazos’s request to amend its contentions seeks to achieve two primary goals (in addition

to adding the Accused Nest Products in the 584 Case). As to the first goal, when Brazos and Google

appeared in Court for the February 17 discovery hearing, the Court was able to observe what had

become clear to the parties in preceding meet-and-confer discussions: the parties did not have a

meeting of the minds as to the infringing instrumentalities, which disconnect gave rise to a host of

disputes concerning the corresponding scope of discovery. Google invited and Brazos seeks to

amend its contentions to remove any perceived ambiguities, so there can be no dispute about which

Google products and services should properly be included in these cases. In each of the 580 and



                                                 1
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585 Cases, Brazos’s prior contentions focus on certain exemplary APIs (Application Programming

Interfaces) as accused functionalities. Brazos’s proposed amendments now expressly call out the

many ways in which Google implements those functionalities—and realizes corresponding

monetary benefits—via integration into Google’s vast ecosystem of proprietary and third-party

products and services. And in the 572 Case, though not discussed at the February 17 hearing,

Brazos seeks to similarly amend its contentions to be clear that, in addition to Google’s “YouTube

TV,” Google’s similar “Google TV” service is also encompassed by Brazos’s infringement theory.

       Brazos’s second goal in amending its contentions is to account for confidential information

not available as of when Brazos first served its Final Infringement Contentions on May 21, 2021.

At that time, Google had not yet made its source code available to Brazos, nor had any Google

witness been deposed. Once Brazos finally had access to Google’s code, and once technical

depositions began, it became clear to Brazos that this newly available, material information needed

to be accounted for in disclosing its complete infringement theories.

       No significant obstacles weigh against Brazos’s requests. Following the unfortunate and

unanticipated February 21 withdrawal of Brazos’s prior counsel, the parties agreed to adjourn the

deadlines to complete fact and expert discovery. To the extent that Google might otherwise be

prejudiced by having to account for Brazos’s proposed amendments, Brazos is prepared to

reasonably accommodate Google’s needs in the context of a forthcoming reset schedule.

       In sum, Brazos’s requests for leave to amend meet the requisite good-cause standard.

Brazos’s proposed amendments account for information that was not available to Brazos until

recently. Brazos’s requested additions are important to ensure that the Court can consider a fully

fleshed-out set of infringement theories. And the availability of a continuance moots any prejudice

that Google might otherwise suffer. The Court should grant Brazos’s motion for leave to amend.



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II.    FACTUAL BACKGROUND

       An executed copy of Brazos’s proposed 584 Amended Complaint is attached in clean form

as Exhibit 1, suitable for entry under W.D. Tex. L.R.-CV(7)(B) if the Court grants this motion; a

corresponding redline version is attached as Exhibit 2.

       Brazos’s proposed Amended Infringement Contentions in each of the 572, 580, 584, and

585 Cases are attached as Exhibits 3-6, respectively.1

       Brazos briefly sets forth below relevant procedural and discovery history underlying these

cases, along with factual background concerning Brazos’s 584 Amended Complaint and Amended

Infringement Contentions in all pending cases.

       A.      Procedural History

       Brazos commenced the four cases presently before the Court on this motion on June 29,

2020, as part of a coordinated series of 15 litigations, with each case alleging infringement of one

patent by Google. See, e.g., ECF No. 1.2 The Court entered the first case Scheduling Order on

November 5, 2020, shortly followed by a First Amended Scheduling Order on November 12, 2020.

See ECF Nos. 26, 29. Under the amended Scheduling Order, the Court set the deadline to serve

preliminary infringement contentions (retroactively) as October 9, 2020; the opening of fact

discovery as March 29, 2021; the deadline to serve final infringement (and invalidity) contentions




1
  Brazos’s proposed Amended Infringement Contentions are attached in redline form for each of
the 572, 580, and 585 Cases. In the 584 Case, Brazos did not serve a redline, but rather an
explanatory email, attached as Exhibit 7, detailing the scope of its proposed amendments. In
deference to Google’s concerns regarding the confidentiality of its source code, Brazos does not
submit herewith its related Source Code Appendices as served in each of the 572, 580, and 585
Cases, but they are available for submission upon request, as needed.
2
 Unless otherwise noted, citations herein to docket entries will be to Case No. 6:20-cv-00572-
ADA. Brazos further intends such citations to be representative of the dockets in each of the 580,
584, and 585 cases, as well (again, unless otherwise noted).
                                                 3
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as May 21, 2021; and the deadline to amend pleadings without leave (assuming no patents or

claims were added) as July 16, 2021. See ECF No. 29 at 1, 3.

       The Court conducted its Markman hearing on March 25, 2021, and entered its claim

construction order on June 2, 2021. See ECF Nos. 44-46. Following the Court’s claim construction

rulings, in five cases the parties filed a series of joint motions to dismiss, followed by Brazos’s

appeals of those claim construction rulings to the Federal Circuit (all of which appeals remain

pending).3

       On October 21, 2021, Brazos and Google filed a joint notice concerning agreement to

extend deadlines, in which the parties notified the Court of an agreement to extend deadlines across

all pending cases as follows:

             •   February 25, 2022 – Close of Fact Discovery

             •   March 4, 2022 – Opening Expert Reports

             •   April 1, 2022 – Rebuttal Expert Reports

             •   April 22, 2022 – Close of Expert Discovery

             •   May 6, 2022 – Dispositive Motion Deadline

             •   July 11, 2022 – (Proposed) Final Pretrial Conference

             •   July 25, 2022 – (Proposed) Jury Selection / 1st Trial

             •   September 19, 2022 – (Proposed) Jury Selection / 2nd Trial

See ECF No. 66. The Court then acknowledged the reset schedule. See 10/21/21 Text Entry.




3
 See Case No. 6:20-cv-00574-ADA, ECF No. 56 (W.D. Tex. Sept. 30, 2021); Case No. 6:20-cv-
00578-ADA, ECF No. 52 (W.D. Tex. Sept. 30, 2021); Case No. 6:20-cv-00581-ADA, ECF No.
55 (W.D. Tex. Sept. 30, 2021); Case No. 6:20-cv-00582-ADA, ECF No. 54 (W.D. Tex. Sept. 30,
2021); Case No. 6:20-cv-00577-ADA, ECF No. 58 (W.D. Tex. Oct. 12, 2021).
                                                  4
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       As discovery progressed, Brazos stipulated with Google and filed before the Court to

dismiss certain other pending cases,4 eventually leaving just the four proceedings that are subject

of this motion actively before the Court.5

       B.      Fact Discovery

               1.      Source Code Review

       As noted above, fact discovery commenced on March 29, 2021, and Brazos was due to

serve final infringement contentions as of May 21. See ECF No. 29 at 3. Brazos requested the

opportunity to review Google’s source code review in connection with its infringement analyses.

On May 21, 2021—i.e., the same date that Brazos was due to serve (and did serve) its final

infringement contentions—Google informed Brazos that the code would be made available in

Dallas, “subject to Google’s proposed [PO] terms,” which Google did not immediately disclose.

Ex. 8 (5/21/21 Etheridge-Laud emails). Resolution of disputes between the parties concerning

terms of the protective order and the location of the source code review ultimately necessitated a

joint motion for entry of a disputed protective order, which the parties filed on September 2, 2021.

See ECF No. 49. The Court then convened a related hearing on September 29, 2021, on Brazos’

motion to modify the protective order. See ECF Nos. 56-59. Once the Court resolved the parties’

remaining disputes—including, inter alia, determining the city in which the source code would be




4
 See Case No. 6:20-cv-00573-ADA, ECF No. 73 (W.D. Tex. Jan. 21, 2022); Case No. 6:20-cv-
00571-ADA, ECF No. 79 (W.D. Tex. Jan. 25, 2022); Case No. 6:20-cv-00576-ADA, ECF No. 75
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Case No. 6:20-cv-00575-ADA, ECF No. 86 (W.D. Tex. Feb. 24, 2022); Case No. 6:20-cv-00579-
ADA, ECF No. 83 (W.D. Tex. Apr. 1, 2022).
5
  As also addressed infra at, inter alia, pages 11 and 15-16, Brazos’s prior counsel engaged in
discussions with Google concerning potentially dismissing the 584 Case shortly before counsel
withdrew from representation. But no related stipulation was ever filed with the Court.
                                                 5
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made available—at that hearing, Google made source code available for review in Austin,

beginning October 5, 2021.

       Brazos’s review of Google’s source code necessitated extensive back-and-forth

correspondence over several months, leading to iterative productions of code. Representative

correspondence is summarized below.

       For example, on October 7, 2021, Brazos wrote to Google to note that



            , and requested that Google supplement its production as to that version and some

additional omitted folders of code (which Google later did). See Ex. 9 (10/7/21 Etheridge letter).

       A similar exchange occurred in the 585 Case, in which Brazos identified deficiencies in

Google’s code productions on each of December 17, 2021, and January 7, 2022, and in response

to which Google agreed to make further supplemental code productions on January 11 and 25. See

Ex. 10 (12/17/21 Etheridge letter), Ex. 11 (1/7/22 Breedlove letter), Ex. 12 (1/11/22 Warren-

Etheridge letter), Ex. 13 (1/25/22 Warren-Breedlove letter)

       Likewise, on October 22, 2021, Brazos informed Google that the 572 Case source code

available for review omitted several portions of code needed by Brazos to complete an updated

evaluation of infringement. See Ex. 14 (10/22/21 Etheridge letter). It was not until over a month

later that Google confirmed its willingness

                             Ex. 15 (12/7/21 Lavine-Etheridge letter). On the next day, January 7—

and three times more before receiving a response from Google—Brazos wrote to Google with a

reminder that the 572 Case deficiencies identified in Brazos’s October 22, 2021, letter remained

unresolved. See Ex. 16 (1/7/22 Breedlove letter), Ex. 17 (1/14/22 Dawson letter), Exs. 18-19




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(1/18/22 Dawson letters). Google responded on January 26, 2022, with mixed positions concerning

Brazos’s code-production requests. See Ex. 20 (1/26/22 Lavine-Breedlove letter).

       Brazos otherwise informed Google on December 8, 2021, of various additional deficiencies

in Google’s technical productions across, inter alia, each of the 572, 580, 584, and 585 Cases. See

Ex. 21 (12/8/21 Etheridge letter) at 2, 5-6. Google again waited approximately a month to respond.

See Ex. 22 (1/6/22 Stitt-Etheridge letter).

       Brazos’s review of Google’s source code—which at its initial stages included a total of ten

cases, six cases beyond the four that presently remain—was more or less continuously ongoing

from October 2021 into February and March 2022.

               2.      Depositions and Discovery Disputes

       No merits depositions occurred in the case until January 21, 2022—i.e., eight months after

Brazos served its final infringement contentions per the scheduling order. See ECF No. 29 at 3.

Later depositions, in combination with issues that surfaced during the parties’ exchanges of

correspondence such as described immediately above, led to a series of discovery disputes,

concerning which the parties made submissions per the Court’s discovery dispute procedures,

following which the Court convened a hearing on February 17, 2022. See ECF No. 88.

       Of most relevance to the instant motion is what Google’s statements at the hearing revealed

concerning Google’s interpretation of the scope of Brazos’s infringement case, in the context of

Brazos’s then-final infringement contentions (which, again, had been prepared and served without

the benefit of either source code or deposition evidence). Specifically, Google took the position in

the context of a dispute focused on the 580 and 585 Cases, in which Brazos drafted its contentions

with reference to certain exemplary APIs, that “

                                                               .” Ex. 23 (2/17/22 Hrg. Tr.) at 24:8-

10. In contrast, Brazos’s position was that “
                                                 7
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       .” Id. at 27:11-15.

       The Court is yet to issue its decision resolving most of the disputes raised at the February

17 hearing, but of note, Google specifically proposed that one avenue available to the Court could

be that “[




                                                                                       .” Id. at 15:20-

16:3. Brazos now seeks to do exactly this.

               3.      584 Case Accused Products

       Brazos’s original June 29, 2020, complaint in the 584 Case identified as products accused

of infringing Brazos’s ’697 patent “products such as . . . user notification alerts based on the object

movement detected using radar,” and as an exemplary such product “devices that utilize Motion

Sense such as, but not limited to the Pixel 4” family of handsets. 584 Case ECF No. 1 ¶¶ 45-46.

“Motion Sense” in turn, was identified as “us[ing] RADAR technology to provide gesture control”

to users; Brazos further noted that “[t]he Pixel 4 has an integrated Soli radar chip . . . . [that]

comprises a short-range radar sensor that detects the movement of a user.” Id. ¶¶ 47, 50.

       In October 2020, more than three months following receipt of Brazos’s complaint,6 Google

then released its Nest Thermostat, which is designed to interact with the Google Home application

on a user’s personal mobile device. See Exs. 25-26. Google now acknowledges on its Soli radar




6
  In addition to notice of the ’697 patent provided by receipt of Brazos’s complaint, in response
to written discovery, Google admitted that it had first learned of the ’697 patent “
                                                      ” as of at least “               .” Ex. 24 at
24 (4/28/21 Google Response to Brazos Interrogatory No. 7).
                                                  8
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chip website that the Google Nest Thermostat senses motion using radar, stating that “the Nest

Thermostat . . . uses Soli technology to help create a borderless, mirrored display and sense

motion.” See Ex. 27 (https://atap.google.com/soli/products/#nest-thermostat) (emphasis added).

         Similarly, nine months following receipt of Brazos’s complaint, on March 30, 2021,

Google released the Nest Hub 2nd Gen. See Ex. 28. Among the features incorporated in the Nest

Hub 2nd Gen were multiple infringing features using the accused Motion Sense technology

included in the Pixel 4, including Quick Gestures and Sleep Sense. For example, in March 2022

Google publicly disclosed in marketing materials for the Soli radar chip and products incorporating

it that the “Pixel 4 was the first device with Soli, powering Motion Sense which allows you to skip

songs, snooze alarms, and silence phone calls without touching your phone.” See Ex. 29

(https://atap.google.com/soli/products/#pixel-4). Similarly in March 2022, Google’s marketing

materials disclosed a substantially identical functionality, in that the Nest Hub 2nd Gen Quick

Gestures “help you quickly take action and focus on what matters. Play or pause a song or video,

snooze an alarm, or even stop a timer with a wave of your hand.” See Ex. 30

(https://atap.google.com/soli/products/#nest-hub). Google also disclosed in March 2022 that the

Nest Hub 2nd Gen Quick Gestures is an evolution of the Motion Sense gesture technology. See id.

(“For the Nest Hub, our team tuned Soli’s radar settings for an expanded gesture sensing range of

3m.”).

         Google’s marketing materials further reveal that Google considers these features to be part

of the same product feature ecosystem, as shown by, e.g., a Nest Hub 2nd Gen product support

webpage generated in March 2022 that identifies Motion Sense as necessary to enable the Google

Nest Hub 2nd Gen’s Quick Gestures and Sleep Sensing features. See Ex. 31

(https://support.google.com/googlenest/answer/10388741?hl=en) (“Motion Sense needs to be on



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to perform Quick Gestures and Sleep Sensing.”). In addition, in a developer blogpost Google

further acknowledged that the infringing Nest Hub 2nd Gen Sleep Sensing feature technology is

directly related to the accused Pixel 4 Motion Sense feature. See Ex. 32 (https://ai.googleblog.com/

2021/03/contactless-sleep-sensing-in-nest-hub.html) (“Sleep Sensing in Nest Hub demonstrates

the first wellness application of Soli, a miniature radar sensor that can be used for gesture sensing

at various scales, from a finger tap to movements of a person’s body. In Pixel 4, Soli powers

Motion Sense, enabling touchless interactions with the phone . . .”).

        However, despite repeated inquiries since Brazos commenced suit in June 2020, Google

never disclosed the existence of the Accused Nest Products to Brazos. First, Brazos served its

Interrogatory No. 1, which identified the “ACCUSED INSTRUMENTALITY” as “the

instrumentalities identified in the complaint” and called for Google to “[f]or the ACCUSED

INSTRUMENTALITY, identify each version made, imported, used, sold, offered for sale,

provided, supported, or caused to be provided by or on behalf of YOU.” Ex. 33 at 1, 5.

Notwithstanding that Google had released both the Accused Nest Products within the last six

months, Google’s April 28, 2021, response                                                  . See Ex.

24 at 4, 6. Brazos later requested that Google confirm that discovery accounted for “all documents

relating to incorporation of Soli in Google products other than Pixel 4.” See Ex. 34 (12/8/21

Etheridge letter). Google repeatedly represented that “

                                          ” and “

                             ” See Ex. 35 (12/15/21 Laud-Etheridge letter), Ex. 36 (1/14/22 Laud-

Stahl letter) at 2.

        As noted above, in March 2022, following discussions of the dismissal of the 584 Case

with Brazos’s prior counsel, Google updated its website devoted to the Soli radar chip



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(https://atap.google.com/soli/products/), to which it added the Nest Thermostat and the Nest Hub

2nd Gen alongside the previously accused Pixel 4 as products incorporating the Soli radar chip;

those website updates also describe how those products similarly incorporate gestures and motion

sensing technologies (as referenced immediately above). Compare Ex. 37 (Archived Soli Main

Page     from     February      23,     2022:          https://web.archive.org/web/20220223202957/

https://atap.google.com/soli/) with Ex. 38 (Archived Soli Main Page from March 2, 2022:

https://web.archive.org/web/20220302225919/https://atap.google.com/soli/)        and    Ex.     39

(Archived Soli Product Page from March 3, 2022: https://web.archive.org/web/20220303093005/

https://atap.google.com/soli/products). Also in March 2022, Google posted a product support

webpage for the Google Nest Hub 2nd Gen explaining how its Quick Gestures and Sleep Sensing

features are a part of the accused Motion Sense technology. See Ex. 31 (https://web.archive.org/

web/20220301182327/https://support.google.com/googlenest/answer/10388741?hl=en).

       When Brazos located this newly disclosed public information regarding the Accused Nest

Products, it promptly updated its contentions to add those products. See Ex. 5 (584 proposed

Amended Infringement Contentions).

       In addition, in response to Brazos’s Interrogatory No. 3, Google asserted that with regard

to the Pixel 4, it cannot infringe asserted claims 1-5 of the ’697 patent,

                                                                                              . See

Ex. 24 at 13 (“



                                           .”).




                                                  11
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         C.      Replacement of Brazos’s Counsel

         During this case, Brazos was twice required to retain new trial counsel.7 Brazos’s original

complaints were filed on June 29, 2020, by the Etheridge Law Group. See ECF No. 1. Starting on

November 18, 2021, Carter Arnett PLLC appeared as counsel for Brazos in all cases not then on

appeal. See, e.g., ECF Nos. 69-70. The Etheridge Law Group then moved to withdraw as counsel

representing Brazos on January 17, 2022, which motion the Court granted on January 26. See ECF

No. 76. On February 10, 2022, Folio Law Group PLLC then appeared as counsel to Brazos in the

580 Case. See 580 Case ECF Nos. 78-80. On February 21, 2022, Carter Arnett filed its own motion

to withdraw as counsel for Brazos in all then-pending cases. See ECF No. 90. Shortly thereafter

Folio Law Group PLLC then appeared on March 7, 2022, in each of the 572 Case (see ECF Nos.

92-97); 584 Case (see 584 Case ECF Nos. 83-86); and 585 Case (see 585 Case ECF Nos. 98-101).

The Court subsequently granted Carter Arnett’s motion to withdraw on April 13. See 4/13/22 Text

Order.

         In light of prior counsel’s withdrawal, on February 22, 2022, Google agreed with local

counsel for Brazos, inter alia, to “suspend the currently scheduled depositions, and to extend the

fact and expert discovery deadline in order to allow new lead trial counsel [to] enter an appearance

and get up to speed.” See Ex. 40 at 1 (2/22/22 Siegmund-Lanier emails).

         Shortly after present counsel’s appearance, Brazos reached out to Google on March 10,

2022, to convene meet-and-confer discussions concerning, inter alia, a reset case schedule; those

discussions also touched on Brazos’s proposals to amend its infringement contentions in light of

developments leading up to and during the February 17 discovery hearing. See Ex. 41 at, e.g., 4-5

(3/10/22 Love-Jones email). In the ensuing discussions, on March 21 Google finally represented



7
    Brazos has been represented by the same local counsel throughout the pending litigations.
                                                 12
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that it would not provide specific feedback on Brazos’s proposed reset schedule because “Google

cannot take a position, yea or nay, on WSOU’s proposed schedule or the propriety of proposed

amended infringement contentions, without seeing those contentions.” Id. at 1 (3/21/22 Lanier-

Abraham email).

       D.      Brazos’s Proposed Amended Infringement Contentions

       Following Google’s statements conditioning its willingness to comment on a proposed

reset case schedule on receipt and review of Brazos’s amended contentions, Brazos proceeded to

prepare and serve its proposed Amended Infringement Contentions. Brazos served supplemental

contentions in the 572 and 580 Cases on April 1, 2022 (see Ex. 42); in the 584 Case on April 6

(see Ex. 7); and in the 585 Case on April 21 (see Ex. 43). A summary description of each of the

four proposed sets of amendments is as follows:

       572 Case: Brazos’s proposed Amended Infringement Contentions account for information

learned by Brazos via Google’s source code,8 including clarification that all elements of Google’s

YouTube TV recommender system—including at least Google’s

                         —are within the scope of Accused Products in this case. See Ex. 3 at, e.g.,

8, 19, 36, 38. Brazos’s proposed amended contentions further specify that Google’s “Google TV”

service allegedly infringes Brazos’s asserted ’806 patent in the same or a similar manner as

YouTube TV. See id. at, e.g., 2-3, 5, 7 et seq.

       580 Case: Brazos’s proposed Amended Infringement Contentions are primarily updated

via an extensive series of citations to Google’s confidential source code. See generally Ex. 4.




8
  As referenced at note 1 supra, in deference to Google’s confidentiality concerns Brazos does not
include its Source Code Appendices, served in the 572, 580, and 585 cases, in this filing. Brazos
can arrange to make these portions of its proposed amended contentions available for the Court’s
review if desired.
                                                  13
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        584 Case: Brazos’s proposed Amended Infringement Contentions (1) add the Accused

Nest Products as additional Accused Products (see Ex. 5 App’x B-D), and (2) add similar apparatus

claims parallel to Brazos’s previous assertions of method claims directed to the Pixel 4 (see id.

App’x A). See also Ex. 7 (4/6/22 service email).

        585 Case: Brazos’s proposed Amended Infringement Contentions account for information

learned by Brazos via Google’s source code—or more to the point, what was not included in

Google’s produced source code—by clarifying that Brazos’s infringement allegations directed to

Google’s geofencing instrumentalities also include at least Google Maps and Google Ads. See Ex.

6 at, e.g., 1-3, 5, 7-11 et seq.

        In subsequent meet-and-confer discussions, Google took the position that “[a]fter

considering all four of WSOU’s proposed amended infringement contentions, Google does not

believe that leave to amend is appropriate.” Ex. 44 at 10-11 (4/22/22 Lanier-Love email). Brazos

attempted where possible to explore the nature of Google’s objections. First, in the 580 and 585

Cases, other than high-level statements during the parties’ meet-and-confer discussions, Google

has not further specified its objections to Brazos’s proposed Amended Infringement Contentions.

        Otherwise, in connection with the 572 Case, Brazos accepted Google’s invitation to

“consider WSOU’s proposed amended final infringement contentions without the addition of

Google TV” (id.) and served such a modified version of those contentions on April 26. See id. at

8-10 (4/26/22 Abraham-Lanier email). Ultimately, Google concluded that its review of the version

of Brazos’s proposed amended contentions without Google TV “d[id] not . . . remove[] [Google’s]

uncertainties about the proposed scope of [Brazos’s] amended contentions, and we confirm that

Google will oppose amendment of [Brazos’s] contentions as proposed (including specifically but

not only the proposed addition of Google TV).” Id. at 4-5 (5/4/22 Lanier-Abraham email).



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       And in connection with the 584 Case, Google’s objections took a different form. There,

after reviewing Brazos’s proposed amended contentions, Google objected on the dual, related

grounds that (1) “the Pixel 4 and 4XL are Google’s only mobile communication devices that

supported the accused SOLI/Motion Sense feature” and (2) “[a]fter Google repeatedly confirmed

and reconfirmed this fact, [Brazos] . . . . represented that it would move to dismiss the -584 case.”

Ex. 45 at 9-10 (4/22/13 Lanier-Jones email). Google further informed Brazos that Google

“formally puts [Brazos] on notice that Google will seek all fees and costs incurred in defending

any of [Brazos’s] claims directed to Nest Hub and Nest Thermostat, and Google may further pursue

fees and costs for any continuance of this -584 action given [Brazos’s] prior representations that it

would dismiss this action only to subsequently do an about face.” Id. In response Brazos stated

that “email below does not put us on notice of any substantive basis for Google’s position that the

Nest products are not ‘mobile communication devices’ within the meaning of the ’697 patent.” Id.

at 8-9 (4/26/22 Abraham-Lanier email).

       Google then in response purported to “provide[] [Brazos] with notice that Google will also

seek all appropriate relief under Fed. R. Civ. P. 11(b)(1)-(3)” unless Brazos dismissed this case,

again citing no intrinsic evidence in support of its claim construction position concerning the

“mobile communications device” claim term. Id. at 6-7 (4/29/22 Lanier-Abraham email). On May

6, Brazos responded at length, including citations to the intrinsic and extrinsic basis in the ’697

patent for Brazos’s infringement theories directed to the Accused Nest Products. See id. at 6

(5/6/22 Abraham-Lanier email); see also Ex. 46 (5/6/22 Abraham-Lanier letter). On May 9,

Google disclosed its further intention to seek relief against Brazos’s counsel under “Section 1927”9




9
 28 U.S.C. Section 1927 is directed to “multipl[ying] the proceedings in any case unreasonably
and vexatiously.”
                                                 15
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(see Ex. 45 at 5-6 (5/9/22 Lanier-Abraham email)), in response to which Brazos noted that under

Federal and Fifth Circuit law “as compared to Google’s existing Rule 11 allegations, Section 1927

presents an even more significant bar to the relief you now seek.” Id. at 4-5 (5/11/22 Abraham-

Lanier email).

       At no time did Google provide Brazos with a basis for its apparent claim construction

position that the term “mobile communications device” should be read to exclude the Accused

Nest Products, nor did Google provide Brazos with any legal argument as to why Brazos’s prior

counsel’s representations that it intended to dismiss the 584 Case (in light of Google’s

characterization of the limited scope of Accused Products at issue) should bear on Brazos’s

subsequent determination to proceed with the 584 Case.

       E.        Brazos’s Proposed 584 Amended Complaint

       Further to the ongoing meet-and-confer discussions relating to Brazos’s infringement

contentions, Brazos prepared and served a concomitant proposed amended complaint. See Ex. 45

at 4-5 (5/11/22 Abraham-Lanier email); see also Exs. 1 (clean) & 2 (redline). In brief, Brazos’s

proposed additions in its First Amended Complaint allege that:

            •    Google’s Accused Nest Products each infringe the ’697 patent that Brazos has

                 asserted in the 584 Case (see Exs. 1 & 2 ¶¶ 54-75);

            •    Brazos “[t]o the extent required . . . has complied with the marking requirements of

                 35 U.S.C. § 287(a) with respect to the ’697 Patent” (id. ¶ 78);

            •    Google has willfully infringed Brazos’s ’697 patent “by at least developing and

                 releasing” the Accused Nest Products after receipt of Brazos’s original complaint

                 in this litigation (i.e., 584 Case ECF No. 1), which provided Google with

                 knowledge of Brazos’s infringement theory directed to “devices that utilize Motion



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      Sense such as, but not limited to the Pixel 4” (id. ¶¶ 82-84 (quoting 584 Case ECF

      No. 1 ¶ 46));

  •   Google “attempted to conceal Nest Hub 2nd Generation’s infringement by

      neglecting to identify it as a potential Accused Product during litigation and

      instructing its employees not to publicly disclose certain information about the

      product” (id. ¶¶ 85-90; see also id. ¶ 93);

  •   Google similarly “did not identify the Nest Thermostat’s operation in combination

      with the Google Home app as a potential Accused Product in response to

      discovery,” notwithstanding that the Nest Thermostat, like the Pixel 4, also “senses

      motion using radar” (id. ¶¶ 91-93);

  •   Google pressured Brazos to dismiss the 584 Case based at least in part on

      representations intended to limit the scope of the case to the Pixel 4, and

      subsequently, upon mistakenly forming a belief “that it had succeeded in

      convincing Brazos to dismiss the case,” updated its marketing materials—most

      notably including Google’s website directed to the infringing Soli radar chip—to

      “add[] the Nest Thermostat and the Nest Hub 2nd Gen alongside the previously

      accused Pixel 4 as products also incorporating the same Soli radar chip and

      provide[] descriptions how those products similarly incorporate gestures and

      motion sensing technologies” (id. ¶¶ 94-96); and

  •   On receipt of Brazos’s proposed amended contentions in the 584 Case, Google

      began an escalating campaign of repeatedly accusing Brazos of potential ethical

      violations were Brazos to proceed with an infringement case based on the Accused

      Nest Products (id. ¶¶ 97-101).


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          F.     Further Schedule-Related Negotiations

          On April 26, following service of its proposed amended contentions, Brazos observed in

correspondence with Google that “[o]ther than agreeing to an indefinite suspension of discovery-

and expert-related deadlines since February 22, Google has thus far declined to engage with

Brazos’s prior scheduling proposals with any appreciable specificity—leaving Brazos unable to

determine whether a mutually acceptable approach to future scheduling might exist”; Brazos also

attached a revised proposed schedule for Google’s consideration. Ex. 44 at 9-10 (4/26/22

Abraham-Lanier email).

          After receipt of some high-level feedback from Google on April 29 and May 4, on May 12

Brazos provided Google with a further updated schedule proposal that contained alternate

proposals based on Brazos’s preferred reset trial date of January 2023, and Google’s preferred

reset trial date of mid-May 2023. See id. at 3-4 (5/12/22 Abraham-Lanier email); see also Ex. 47

(5/12/22 Proposed Amended Scheduling Order [not agreed]). Google then responded the

following day to communicate that “there should be no representation or understanding that

Google has agreed” to either set of dates, and noted that Google “will send [Brazos] an updated

schedule proposal next week.” See Ex. 44 at 2 (5/13/22 2:56PM Lanier-Abraham email). Brazos

duly acknowledged Google’s position, and then observed that “if Google is prepared to deliver an

updated proposal leading to a proposed May trial date . . . it would seem to make more sense to

include that with Brazos’s initial submission to the Court.” Id. at 1-2 (5/13/22 Abraham-Lanier

email).

          Later that day, Google represented that it was “working on the [schedule] proposal received

yesterday but I don’t expect we will have a concrete response until Monday or Tuesday.” Id. at 1

(5/13/22 7:57 PM Lanier-Abraham email). Google has not further communicated with Brazos

since May 13.
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III.   LEGAL STANDARD

       Federal Rule of Civil Procedure 15(a)(2) governs a motion for leave to file an amended

pleading that is filed more than 21 days after the original complaint. But that rule does not apply

in the first instance if the deadline to amend under the governing scheduling order has passed. In

those circumstances, courts first apply Rule 16(b)(4), under which a scheduling order “may be

modified only for good cause and with the judge’s consent.” See Squyres v. Heico Cos., L.L.C.,

782 F.3d 224, 237 (5th Cir. 2015); IDB Ventures, LLC v. Charlotte Russe Holdings, Inc., 360 F.

Supp. 3d 541, 548 (E.D. Tex. 2018) (Bryson, J., sitting by designation). The identical good-cause

requirement applies to a party’s request to amend infringement contentions. See, e.g., Epistar

Corp. v. Lowe’s Cos. Inc., No. 6:20-CV-00420-ADA, ECF No. 67 at 3 (W.D. Tex. Aug. 4, 2021);

MV3 Partners LLC v. Roku, Inc., No. 6:18-CV-00308-ADA, ECF No. 146 at 1 (W.D. Tex. Mar.

23, 2020).

       To determine if the moving party has shown such good cause, the Fifth Circuit has directed

district courts to consider: (1) the explanation for the party’s failure to timely move for leave to

amend; (2) the importance of the amendment; (3) potential prejudice in allowing the amendment;

and (4) the availability of a continuance to cure such prejudice. See United States ex rel. Bias v.

Tangipahoa Parish Sch. Bd., 816 F.3d 315, 328 (5th Cir. 2016) (quoting S&W Enters., LLC v.

Southtrust Bank of Ala., N.A., 315 F.3d 533, 535 (5th Cir. 2003)); see also Avialae S De RL De CV

v. Cummins Inc., No. EP-19-CV-380-PRM, 2020 U.S. Dist. LEXIS 242272, at *5 (W.D. Tex. Aug.

24, 2020).

       Upon a showing of good cause, “the more liberal standard of Rule 15(a) will apply to the

district court’s [consideration] of leave to amend” the pleadings. Id. (quoting Filgueira v. U.S.

Bank Nat’l Ass’n, 734 F.3d 420 (5th Cir. 2013) (internal quotation omitted)). Under Rule 15(a)(2),



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assuming the opposing party does not consent to the requested amendment (as is so in this case),

“[t]he Court should freely give leave [to amend] when justice so requires.” Factors that a court

considers in deciding whether to deny a motion for leave under Rule 15 include “undue delay, bad

faith or dilatory motive on the part of the movant, repeated failures to cure deficiencies by

amendments previously allowed, undue prejudice to the opposing party by virtue of the allowance

of the amendment, [and] futility of the amendment.” Id. at *5-6 (quoting Whitmire v. Victus Ltd.,

212 F.3d 885, 889 (5th Cir. 2000)).

IV.    ARGUMENT

       Good cause supports Brazos’s request to file the First Amended Complaint and serve its

proposed Amended Infringement Contentions.

       A.       Brazos’s Request for Leave Is Reasonably Timely Under the Circumstances
                of This Case

       Brazos has good cause for not moving for leave to amend by the scheduling order’s original

July 16, 2021, deadline to amend pleadings. See ECF No. 29 at 3. Multiple factors have led to the

circumstances under which Brazos seeks to amend its contentions at this time:

            •   In the 584 Case, Google released the newly infringing Accused Nest Products well

                after commencement of the case10 and correspondingly updated its marketing




10
   Texas federal courts have regularly granted leave to amend contentions upon release of new
products. See, e.g., Polaris PowerLED Techs., LLC v. Samsung Elecs. Am., Inc., No. 2:17-cv-
715-JRG, 2019 U.S. Dist. LEXIS 235776, at *8-12 (E.D. Tex. Apr. 24, 2019) (granting motion
to amend to add two new lines of accused products) (“The Note9 and Kant M2/M3 TVs had not
yet been launched by the time Polaris served its initial infringement contentions, and Polaris was
diligent in seeking discovery on these products and seeking to amend its contentions as soon as it
became aware that these products might infringe”); TiVo Inc., v. Verizon Commc’ns Inc., No.
2:09-CV-257-JRG, 2012 U.S. Dist. LEXIS 78431, at *12-13 (E.D. Tex. Jun. 6, 2012) (granting
motion to amend to name accused product first sold after plaintiff served original contentions);
SmartPhone Techs. LLC v. HTC Corp., No. 6:10cv580 LED-JDL, 2012 U.S. Dist. LEXIS 68049,
                                               20
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              materials only within the last few months (see supra at 8-11);

          •   Google’s discovery responses in the 584 Case did not disclose existence of the

              Accused Nest Products11 (see supra at 10);

          •   The parties’ differing interpretations of Brazos’s prior infringement contentions led

              to intractable confusion requiring intervention of the Court, in connection with

              which Google itself proposed as an option that “[




                      ” (Ex. 23 (2/17/22 Hrg. Tr.) at 15:20-16:3; see also supra at 7-8);

          •   Brazos did not have full access to Google’s confidential source code evidence and

              deposition testimony until late in the discovery process—indeed, months after

              Brazos served its putatively final infringement contentions in May 202112 (see

              supra at 5-7);

          •   Brazos’s former counsel’s withdrawal disrupted the completion of fact discovery

              (see supra at 11-12); and

          •   Brazos’s present counsel prepared and served its proposed amended contentions




at *10-11 (E.D. Tex. Mar. 16, 2012) (granting leave to amend to accuse seventeen products
released after plaintiff served original contentions).
11
  A plaintiff meets the first prong of the Fifth Circuit’s “good cause” test when “a defendant
withheld discovery responses that would support the additional new allegations.” Cantu v. Wayne
Wilkens Trucking, LLC, No. SA-19-CV-1067-XR, 2020 U.S. Dist. LEXIS 103104, at *7 (W.D.
Tex. Jun. 11, 2020). Google’s discovery conduct in at least the 584 Case meets this criterion.
12
  Texas federal courts have found good cause to grant leave to amend contentions when source
code required further review. See GREE, Inc. v. Supercell Oy, No. 2:19-CV-00200-JRG-RSP,
2020 U.S. Dist. LEXIS 203422, at *2 (E.D. Tex. Mar. 26, 2020).

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                within approximately two weeks (572, 580, and 584 Cases) or one month (585

                Case) of receiving Google’s position that “Google cannot take a position . . . on

                [Brazos’s] proposed schedule or the propriety of proposed amended infringement

                contentions, without seeing those contentions.” Ex. 41 at 1 (3/21/22 Lanier-

                Abraham email). See also Exs. 7, 42-43 (4/1, 4/6 & 4/21/22 contention service

                emails); supra at 12-13.13

Under the totality of these circumstances, Brazos’s motion for leave to amend is as timely as it

reasonably could be.

        B.      Brazos’s Allegations Are Well-Supported and Important to the Case

        In some ways, the best evidence in support of the importance of Brazos’s requested

amendments comes from the admissions of Google’s counsel during the February 17 hearing that

in Google’s view, “

                               .” Ex. 23 (2/17/22 Hrg. Tr.) at 24:8-10. Allowing Brazos to amend

its contentions is the most efficient way to ensure that the parties can effectively join issue based

on a shared set of foundational assumptions concerning the scope of these cases, thus ensuring that

Brazos has the opportunity “to fully present its infringement theory.” MV3, No. 6:18-CV-00308-

ADA, ECF No. 146 at 3 (“The Court finds that this amendment is important because it allows

[Plaintiff] to fully present its infringement theory.”).

        Similarly, Brazos’s request to amend its complaint and contentions to add the newly

released Accused Nest Products to the 584 Case is self-evidently important because, without that

amendment, those products will not be part of this case, thus forcing Brazos to file a duplicative




13
   See GREE, 2020 U.S. Dist. LEXIS 203422 at *5 (“[T]he earlier the requested supplementation
is sent to the other side, the more it shows diligence and mitigates potential prejudice.”).
                                                  22
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complaint should it wish to obtain redress as to the full scope of Google’s infringement. See, e.g.,

GREE, Inc. v. Supercell Oy, No. 2:19-cv-00310-JRG-RSP, 2020 U.S. Dist. LEXIS 237130, at *10

(E.D. Tex. Dec. 17, 2020) (“For the sake of judicial economy, it would be very advantageous to

include the amended infringement contentions to avoid another suit. If the newly accused . . .

feature is similar to the . . . feature already in dispute, it would be a significant waste of judicial

resources to have another case on closely related issues. As such, this factor weighs significantly

in favor of granting [Plaintiff’s] Motion.”).

       Similarly, Brazos’s request to amend to add parallel apparatus claims directed to the Pixel

4 to its 584 Case contentions is “undoubtedly important” in that it would allow Brazos “an alternate

means to prove infringement.” Thomas Swan & Co. Ltd. v. Finisar Corp., No. 2:13-cv-178-JRG,

2014 U.S. Dist. LEXIS 191708, at *5 (E.D. Tex. Aug. 11, 2014) (citation omitted); see also, e.g.,

Harris Corp. v. Huawei Device USA, Inc., No. 2:18-CV-00439-JRG, 2019 U.S. Dist. LEXIS

151949, at *9-10 (E.D. Tex. Sept. 6, 2019) (“If true, then these products would be very important

to Harris’s infringement case and would open a new avenue for establishing infringement.”).

       C.      Google Will Not Be Prejudiced by Brazos’s First Amended Complaint
               Because a Continuance is Already Required

       In the first instance, Google’s prejudice if the Court grants Brazos’s motion for leave to

amend will be “minimal” because Google is already in possession of the relevant additional

evidence that would need to be produced in discovery in response to Brazos’s proposed

amendments. See, e.g., GREE, 2020 U.S. Dist. LEXIS 237130 at *12 (“The Court also

recognizes that [Defendant], as the developer of the [accused] feature . . . would possess most, if

not all, relevant discovery. The Court finds that granting [Plaintiff’s] Motion may prejudice

[Defendant], but that this prejudice is minimal.”).




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         Similarly, “because [Brazos] chose to identify accused instrumentalities by functionality,

[Google] should not be surprised by the addition of . . . products” consistent with that functionality

“and will suffer little, if any, prejudice by way of the amendment.” Alacritech Inc. v. CenturyLink,

Inc., No. 2:16-CV-00693-RWS-RSP, 2017 U.S. Dist. LEXIS 132859, at *11 (E.D. Tex. Aug. 20,

2017).

         From a purely practical point of view, a continuance is readily available, given that the

withdrawal of Brazos’s prior counsel and the parties’ subsequent agreement to adjourn all fact and

expert discovery deadlines necessitates entry of a new case schedule. See supra at 12-13. In

discussions relating to these cases’ go-forward schedule, Brazos has attempted to meet Google

halfway (or thereabouts) with respect to all requests that Google has actually shared with Brazos—

be it accommodating additional time for amended invalidity contentions, supplemental claim

construction, or scheduling proposed trial dates around Google’s counsel’s other preexisting

commitments. See supra at 18-19; Ex. 44 at 3 (5/12/22 Abraham-Lanier email). This Court has

expressly recognized that allowing for such sufficient time to respond mitigates any prejudice a

defendant in Google’s shoes might otherwise incur. See Epistar, No. 6:20-CV-00420-ADA, ECF

No. 67 at 3-4 (“[A]ny prejudice experienced by Defendant is mitigated by granting Defendants

additional time to respond. . . . [T]he Court GRANTS Epistar’s Motion for Leave . . . . under the

condition that Defendants receive enough time to respond to the amended contentions.”). And

while the parties have not yet come to rest on an agreed revised schedule, Brazos has committed

to negotiate with Google in good faith to accommodate any further reasonable requests, and the

parties will promptly seek the assistance of the Court as needed. Cf. id. at 3-4 (“If Defendants

believe the current schedule unduly prejudices them and they are unable to agree with Plaintiff on




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a schedule going forward, they are instructed to contact the Court to seek relief.”); see also Ex. 44

at 3-4 (5/12/22 Abraham-Lanier email).

       Moreover, this Court has also observed that is appropriate in circumstances such as these

to weigh the prejudice that a defendant might suffer in comparison to prejudice that a plaintiff

would suffer were leave to amend to be denied. See MV3, No. 6:18-CV-00308-ADA, ECF No.

146 at 4 (“Because of the importance of this amendment, [Plaintiff] will suffer significant

prejudice, which cannot be cured by a continuance. By contrast, not only can any prejudice to

[Defendant] be cured by a continuance, because [Defendant] delayed producing relevant

documents, it partially created any ultimate prejudice it may suffer.”).

       On balancing the multiple factors in the Fifth Circuit’s Rule 16(b)(4) “good cause” test, it

is appropriate for the Court to grant Brazos’s requests for leave to amend based on the totality of

circumstances in these cases.

       D.      For the Same Reasons, the Court Should Allow Leave to Amend Its
               Complaint Under Rule 15(a)(2)

       As noted above, the default posture for a request for leave to amend under Rule 15 is that

“[t]he Court should freely give leave when justice so requires.” And there is significant overlap

between the factors the Fifth Circuit directs be considered in the context of a Rule 15 analysis and

Rule 16’s “good cause” analysis. In particular, for reasons detailed above, Google cannot show

any of “undue delay, bad faith or dilatory motive on the part of [Brazos] . . . , [or] undue prejudice

to [Google] by virtue of the allowance of the amendment.” Avialae, 2020 U.S. Dist. LEXIS 242272

at *5-6.

       Otherwise, as to “repeated failures to cure deficiencies by amendments previously

allowed” (id.), this is the first time that Brazos has requested leave to amend in these cases—and,




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barring any forthcoming surprises from Google, Brazos does not expect it will be back before the

Court on any similar requests.

       Finally, as to potential “futility of the amendment” (id.), the sole argument that Google has

so far specified to Brazos that might bear on this issue relates to Google’s apparent position that,

in the 584 Case, the asserted ’697 patent’s claim limitation directed to a “mobile communications

device” necessarily excludes the Accused Nest Products because they are “stationary.” See Ex. 45

at 6-8 (4/29/22 Lanier-Abraham email). But, as Brazos previously observed to Google, such an

issue is more appropriate for evaluation in connection with a supplemental claim construction

proceeding, rather than the truncated consideration permitted by this motion for leave to amend.

See, e.g., Ex. 45 at 4-5 (5/11/22 Abraham-Lanier email).

V.     CONCLUSION

       For the foregoing reasons, Brazos respectfully requests that the Court grant it leave to file

its First Amended Complaint in the 584 Case, and to serve its Proposed Amended Final

Infringement Contentions in each of the 572, 580, 584, and 585 Cases. Brazos has demonstrated

its diligence in seeking these amendments; Brazos’s requested amendments are unquestionably

important in allowing this Court to efficiently adjudicate the full scope of Brazos’s infringement

claims against Google; and Google cannot point to any significant prejudice that Google would

suffer, given that Brazos is prepared to work with Google and the Court to enter an amended

scheduling order that allows Google sufficient opportunity to rebut Brazos’s amended

infringement allegations.

VI.    ADDENDUM REGARDING RULE 11

       Beyond the scope of its above motion for leave to amend, Brazos writes briefly to address

Rule 11 allegations raised by Google during related meet-and-confer discussions.



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       As noted above, Brazos served its 584 Amended Contentions on Google on April 6,

detailing, inter alia, Brazos’s new infringement allegations as the Accused Nest Products. See Exs.

4, 7. Brazos had also previously informed Google on March 23, 2022, in the context of a draft joint

status report (ultimately not submitted to the Court in that form), that Brazos intended to identify

“[a]s accused products . . . additional products Google Nest Hub (2nd Gen) and Google Nest

Thermostat.” Ex. 47 (3/23/22 Siegmund-Jones email) attchmt. at 4.

       Despite having been on notice of Brazos’s intent to bring the Accused Nest Products into

the case for over a month, on April 29, 2022, Google for the first time informed Brazos that the

allegations in Brazos’s 584 Amended Contentions, in Google’s estimation, did not meet the

requirements of Federal Rule of Civil Procedure 11, and purported to “provide[] WSOU with

notice that Google will also seek all appropriate relief under Fed. R. Civ. P. 11(b)(1)-(3)” unless

Brazos dismissed the 584 Case. Ex. 45 at 6-7 (4/29/22 Lanier-Abraham email). On May 6, Brazos

responded at length, including citations to the intrinsic and extrinsic basis in the ’697 patent for

Brazos’s infringement theories directed to the Accused Nest Products. See id. at 6 (5/6/22

Abraham-Lanier email); see also Ex. 46 (5/6/22 Abraham-Lanier letter).

       On May 9, Google expanded the grounds upon which it challenged the sufficiency of

Brazos’s 584 Amended Contentions, by disclosing an intention to seek relief against Brazos’s

counsel under 28 U.S.C. Section 1927, directed to “multipl[ying] the proceedings in any case

unreasonably and vexatiously.” See Ex. 45 at 5-6 (5/9/22 Lanier-Abraham email). Brazos again

responded to reiterate its good-faith basis to add the Accused Nest Products to the case. See id. at

4-5 (5/11/22 Abraham-Lanier email).

       Following a further exchange between the parties, in which Brazos expressly “renew[ed]

our request that Google disclose with specificity all grounds on which Google’s accusations under



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Rule 11 and Section 1927 are based” (see id. at 1-3 (5/11/22 & 5/12/22 Abraham-Lanier emails;

emphasis in original), on May 13 Google then finally briefly reserved its rights to “take such steps

and seek such relief as it deems appropriate as the case develops.” See id. at 1 (5/13/22 Lanier-

Abraham email).

       The above recitation reflects the current state of affairs as of this filing. i.e., Google has not

served Brazos with a proposed Rule 11 motion. And to be clear, Brazos does not request that the

Court grant any relief in connection with this Supplemental Addendum, nor does Brazos contend

that the Court need consider these facts in connection with Brazos’s motion to amend, other than

as already referenced above in Brazos’s motion proper. See supra at 15-16 & Exs. 1-2 ¶¶ 97-101.

Brazos primarily wishes by this supplemental addendum to ensure that it cannot credibly be

characterized as having withheld material information from the Court’s attention.




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Date: May 20, 2022                   Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 20th day of May 2022, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system and served a copy via email to all counsel of

record.

                                                        /s/ Joseph M. Abraham
                                                        Joseph M. Abraham




                                CERTIFICATE OF CONFERENCE

          Pursuant to Local Rule CV-7(i), counsel for Brazos conferred with counsel for Google

via teleconference on April 19 and April 28, 2022 and extensively via email. Brazos discussed

with Google the requested relief as set forth in this motion. Google currently opposes the relief

sought in this motion.

                                                        /s/ Joseph M. Abraham
                                                        Joseph M. Abraham




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